                    IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

IN RE                                          )             CASE NO. 17-17361
                                               )
RICHARD M. OSBORNE,                            )             CHAPTER 11
                                               )
                       DEBTOR                  )             JUDGE ARTHUR I. HARRIS

 MOTION FOR AN ORDER DIRECTING LAKE COUNTY TITLE, LLC TO APPEAR
           FOR EXAMINATION PURSUANT TO RULE 2004(a) OF
          THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

        Now comes creditor Chicago Title Insurance Company (“Chicago Title”), through

undersigned counsel, and hereby states that Chicago Title needs to obtain information and

documents from Lake County Title, LLC (“Lake County Title”) concerning transactions that Lake

County Title has handled that have involved the Debtor and/or any of the Debtor’s entities in any

way; and that Chicago Title is entitled to review such information and documents.

        In support of this Motion, Chicago Title states as follows:

        1.     The Movant, Chicago Title, is one of the largest creditors in the within bankruptcy

case, with claims in excess of $6.9 million.

        2.     Lake County Title has handled numerous transactions involving the Debtor before

and after the commencement of this bankruptcy action.

        3.     The Movant believes that Lake County Title has handled numerous transactions

involving the Debtor liquidating assets in entities that Debtor owns since the Debtor filed

bankruptcy.

        4.     The Movant believes that the Debtor may have an interest in Lake County Title,

and if so, such interest has not been disclosed in Debtor’s Bankruptcy Schedules.




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        5.     The Debtor has unilaterally allocated $300,000.00 to the mineral interests in the

property that he proposes to sell on Concord-Hambden Road, when the Debtor or one of the

Debtor’s entities received $50,000 for releasing mineral interests in much more valuable property

on Tyler Boulevard in Mentor in a transaction that was handled by Lake County Title.

        6.     Through transactions handled by Lake County Title, the Debtor may have received

funds from his liquidation of assets held by multiple entities that Debtor owns and controls, and

those receipts have not been disclosed in this bankruptcy case or paid into the bankruptcy estate.

        WHEREFORE, Chicago Title prays that Lake County Title be ordered to appear for

examination pursuant to the provisions of Rule 2004(a) of the Federal Rules of Bankruptcy

Procedure and provide the following:

        (1) Information and/or documentation concerning transactions Lake County Title has

handled that have in any way involved the Debtor, Richard M. Osborne, since December 17, 2017.

        (2) Information and/or documentation concerning transactions Lake County Title has

handled that have in any way involved any entity in which the Debtor has an interest, including

but not necessarily limited to the entities listed in Debtor’s Bankruptcy Schedules and/or Amended

Bankruptcy Schedules since December 17, 2017.

        (3) Any and all information and/or documentation concerning any interest the Debtor,

Richard M. Osborne, has in Lake County Title.

        (4) Any information and/or documentation regarding money, compensation, profits,

proceeds, and/or remuneration paid to the Debtor, Richard M. Osborne, since December 17, 2017.

        (5) Information and/or documentation concerning any funds paid, remitted, and/or tendered

to any entity in which the Debtor, Richard M. Osborne, has an interest, including but not




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necessarily limited to the entities listed in Debtor’s Bankruptcy Schedules and/or Amended

Bankruptcy Schedules, since December 17, 2017.

        WHEREFORE, the Movant respectfully requests that the above documents be produced to

the Office of Michael J. Sikora III, at Sikora Law LLC, 737 Bolivar Road, Suite 270, Cleveland,

Ohio 44115 by no later than June 27, 2018; and for the examination of an Officer of Lake County

Title with knowledge of the above matters to take place on July 6, 2018 at 10:00 a.m. at the above

location; and for an order from this Court for the production of those documents and for a Rule

2004 Examination.



                                     Respectfully submitted,



KOEHLER FITZGERALD LLC                                SIKORA LAW LLC

/s/ Robert D. Barr                                    /s/ Michael J. Sikora III
Robert D. Barr (0067121)                              Michael J. Sikora III (0069512)
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                                                      Co-counsel for Chicago Title Insurance
                                                      Company




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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of Motion for an Order to Appear for

Examination of Lake County Title, LLC Pursuant to Rule 2004(a) of the Federal Rules of

Bankruptcy Procedure was served on June 1, 2018, as follows:

Via the Court’s Electronic Case Filing System on these entities and individuals who are
listed on the Court’s Electronic Mail Notice List:

        Adam S. Baker, on behalf of Michael E. Osborne, Sr., at abakerlaw@sbcglobal.net

        Robert D. Barr, Attorney for Chicago Title Insurance Company, at rbarr@koehler.law

        Michael J. Sikora, III, Attorney for Chicago Title Insurance Company, at
        msikora@sikoralaw.com

        Michael S. Tucker, Attorney for Citizens Bank, N.A., at mtucker@ulmer.com

        Christopher J. Klym, Attorney for Ohio Department of Taxation, at bk@hhkwlaw.com

        Matthew H. Matheney, Attorney for First National Bank of Pennsylvania, at
        mmatheney@bdblaw.com

        Timothy P. Palmer, Attorney for The Huntington National Bank, at
        timothy.palmer@bipc.com

        John J. Rutter, Attorney for Mentor Lumber & Supply Co., at jrutter@ralaw.com

        Frederic P. Schwieg, Attorney for Richard M. Osborne, at fschwieg@schwieglaw.com

        Jeffrey C. Toole, Attorney for Zachary B. Burkons, at toole@buckleyking.com

        Maria D. Giannirakis ust06, United States Trustee, at maria.d.giannirakis@usdoj.gov

        Scott R. Belhorn ust35, United States Trustee, at Scott.R.Belhorn@usdoj.gov

        Gregory P. Amend, Attorney for First National Bank of Pennsylvania, at
        gamend@bdblaw.com

        Nathaniel R. Sinn, Attorney for First National Bank of Pennsylvania, at
        nsinn@bdblaw.com


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        Alison L. Archer, Attorney for Lakeland Community College, at
        alison.archer@ohioattorneygeneral.com

        David T. Brady, Attorney for Tax Ease Ohio, LLC, at DBrady@Sandhu-Law.com

        Andrew M. Tomko, Attorney for Tax Ease Ohio, LLC, at atomko@sandhu-law.com

AND, by regular U.S. mail, postage prepaid, to the following:

        Richard M. Osborne
        7265 Markell Road
        Waite Hill, Ohio 44094

        Lake County Title, LLC
        Attention: Thomas R. Flenner, President
        306 High Street
        Fairport Harbor, Ohio 44077


                                           /s/ Robert D. Barr
                                           Robert D. Barr (0067121)
                                           Co-Counsel for Chicago Title Insurance Company




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